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FLENB Local Form 5

Exhibit Tag/ Cover Sheet

Party submitting: Plaintiff Ex. ¢ 63
Admitted: Yes or No (circle one)

Debtor: Julian Rodney Rooks Jr.

 

Case No.: 21-40139-KKS

 

 

 

Adv. Na.:

Nature of Hearing/

Decket Neo:

Dated 07/22 , 2021.

 

By: » Deputy Clerk
Case 21-04019-KKS Doc13-2 Filed 07/22/21 Page 2 of 2

to Kim resend of FOIA Yahoos sent

 

- dullan Rooks <jullanrooks@yahoo.com > fr © Jan SL at L226 eM
Te: edfolamanager@ed.gov

 

Hello Kim,
Per your request, | ami again sanding a copy of the same FOIA request the DOE signed for on 12-05-2017. Because you said there

is no entry in the system for that name, | have also included the signed receipt.
if you need anything else please do not hesitate to contact me.
Thank you for your help.

Sincerely,

Julian Rodney Rooks Jr.

&, Download ail attachments as a zip file

  

  

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Tapes EE 426 BRE
